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                           United States District Court, Eastern District of New York
UNITED STATES OF AMERICA                                                         ORDER SETTING CONDITIONS OF RELEASE
                 V.                                                              AND APPEARANCE BOND

                                                                                  Case Number:     21-82 M
Douglass
�-----Mackey
         ------- ----' Defendant.
                                                                   RELEASE ORDER
      It is hereby ORDERED that the above-named defendant be released subject to the Standard Conditions ofRele�se on the reverse and as foll�ws:
      [ ] Upon Personal Recognizance Bond on his/her promise to appear at all scheduled proceedings as required, or
      [✔] Upon Bond executed by the defendant in the amount of$_50,000    ______ _ _ _ __ • and
              secured by [ ] financially responsible sureties listed below and/or [ ] collateral set fo1th below.
                                                            Additional Conditions of Release
      The Court finding that release under the Standard Conditions of Release on the reverse will not by themselves reasonably assure the
appearance of the defendant and/or the safe ty of other persons and the community, IT IS FURTHER ORDERED as follows:
[✔] 1. The defendant must remain in and may not leave the followin g areas without Court permission: [ ✔ J New York City; [ ] Long Island, NY;
         [ ] New York State; [ ] New Jersey; [✔] -  SD--    ------- - - -
                                                         of FL                        � and travel to and from this Court and the permitted areas.
[ ✔] 2. The defendant must avoid all contact with the following persons or entities: ___      __
                                                                                       victims,     ______
                                                                                                  witnesses          ___________
                                                                                                              or potential  witnesses              _
            co-conspirators in this case, unless in the presence of counsel
[ l 3.      The defendant must avoid and not go to any of the following locations: _________________ _ _____
[✔ J 4.     The defendant must surrender all passports to Pretrial Services by ___ and not obtain other passports or international travel documents.
[✔l 5.      The defendant is placed under the supervision of the Pretrial Services Agency subject to the Special Conditions on the reverse and:
     [ ✔l   a. is subject to random visits b y a Pretrial Services officer at defendant's residence and/or place of work;
     [✔l    b. must report [ ✔ ] as directed by Pretrial Services or [ ] in person� times per ___ and/or [ ] by telephone_ times per ___
     [ l    c. must undergo [ ] testing, [ J evaluation and/or [ ] treatment for substance abuse, including alcoholism, as directed by Pretrial Services.
     [ ✔l   d. must undergo evaluation and treatment for mental health problems, as directed by Pretrial Services.
     [ l    e. is subject to the following location restriction program with location monitoring, as directed by Pretrial Services:
              ] home incarceration: restricted to home at all times, except for attorney visits, court appearances and necessary medical treatment;
            [ ] home detention: restricted to home at all times, except for attorney visits, court appearances, medical treatment, [ · J religious services,
                [ ] emplojment, [ ] school or training, [ ]other activities approved by Pretrial Services, [ ] _________
     [ ]    curfew: restricted to home every day from ___ _           _ to ______ , or [ ] as directed by Pretrial Services.
     [ ✔]   Defendant must P<l-J all or part of the cost of any required testing, evaluation, treatment and/or location monitoring with personal funds,
            based upon ability ·to pay as determined by the Court and the Pretrial Services Agency, and/ or from available insurance.
[✔] 6.      Other Conditions: Maintain address as approved by Pretrial Services, seek and maintain employment.

                                                                 APPEARANCE BOND
I, the undersigned defendant, and each surety who signs this bond, acknowledge that I have. read this Appearance Bond and, and have either read all
the other conditions of release or have had those conditions explained. I further acknowledge that I and my personal rep resentatives, jointly and
severally, are bound to pay the United States of America the sum of$._     �---- - - -
                                                                         50,000                   � and that this obligation is secured with the below
interest in the following property ("Collateral") which I represent is/are free and clear of liens except as otherwise indicated:
        ] cash deposited in the Registry of the Court in the sum of$._____________�
        ]
      [ premises located at:________ _ ________ .owne d by______________ _ ____
      [ ] I also agree to execute a confession ofjudgment, mortgage or lien in form approved by the U.S. Attorney which shall be duly filed with the
      proper local and state authorities on or before�--------- - - ------- ------
Each ovmer of the above Collateral agrees not to sell the property, allow further claims or encumbrances to be made against it, or do anything to
reduce its value while this Appearance Bond is in effect.
Forfeiture ofthe Bond This Appeara'nce Bond may be forfeited if the defendant fails to comply with any of the conditions set forth above and on the
reverse. The defendant and any surety who has signed this form also agree that the court may immediately order the amount of the bond surrendered
to the United States, including any security for the bond, if the defendant fails to comply with the above agreement. The court may also order a
judgment of forfeiture against the defendant and against each surety for the entire amount of the bond, including any interest and costs.
                                                                                                                                             Date

_______________Address:·-------------�--------------
             , Surety

_______________ Address·. ____________________________
             , Surety

_______________Address:. ____________________________
             , Surety
     I acknowledge that I am the defendant in this case and that I am aware of the conditions of release and of the penalties and sanctions set
forth on the front and reverse sides of this form.
                                                                                     X Douglass Mackey
                                                                                                                                          Signature of Defendant
Release of the Defendant is hereby ordered on ___________
                                              2/3          21 .
                                                         20__

S/ Roanne Mann
------------�    MJ
               US_
                                                                              Distribution:   Canary - Court   Pink - Pretrial Services   Goldenrod -Defendant
